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IN THE UNITED sTATEs DISTRICT coURT Fu.ED BY Lli<~”_,~_.. D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE
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ITED STATES OF AMERICA' vmo.o,:w. 1

Plaintiff,
CR. NO. 05-20053~Ma

VS.

JOHNNY FOSTER

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April 2lr 2005.
Defense counsel requested a continuance of the present trial date
in Order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a m., With a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 2l, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § BlSl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

31.:J~

1'1' Is so onDERED this day of May, 2005.

JM/wi._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20053 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

